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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DONNA PARRIS                                      :
v.                                                :    CIV. NO. 10-CV-01128 (WWE)
CHARLES PAPPAS ET AL.                             :    October 12, 2017


     MOTION TO RECONSIDER OR MODIFY RECOMMENDED ORDER ON
                     MOTION FOR CONTEMPT

         Pursuant to District of Connecticut Local Rule 7(c) and Rule 59 of the Federal

Rules of Civil Procedure, Defendant respectfully moves that the Court reconsider and

modify in a limited respect its order concerning the payment schedule set forth in the

order to reflect the factual developments outlined below not taken into account in the

Order.

         On October 5, 2017, the Court (Fitzsimmons, MJ) issued a recommended ruling

and order recommending that Mr. Pappas be required to make monthly payments of $800

towards the judgment owed in this case. The order further specified that “[s]hould

plaintiff begin to receive rental income from Normandies Park, defendant may offset the

$800 monthly payment to reflect any amount tendered from the Normandies Park stream

of income.” DE #312.

         At the time of the August 29, 2017, hearing in this matter, Mr. Pappas was

engaged in ongoing efforts to sell the Normandies Park trailer park and adjacent

properties in a transaction that contemplated that the purchaser of the property would

make payments to Plaintiff in an undetermined amount of between $400 and $500 per

month for a period of five years. It appears that these contemplated payments are the

“Normandies Park stream of income” referenced in the recommended ruling.

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       Subsequent to the hearing, Mr. Pappas concluded the sale of the properties. The

proceeds of that sale, $28,000, were provided to Plaintiff in a single lump sum payment.

A copy of the payment check, dated October 5, 2017, is attached as Exhibit 1.

       This lump-sum payment, made the same day that the Court issued its

recommended ruling, resulted in a single substantial payment rather than a slower

“stream of income” as contemplated by the order. This payment of $28,000 is equivalent

to monthly payments of $466 for five years. In order to effectuate the intent of the

Court’s order in light of the factual development not known to the Court at the time of the

Order, Defendant respectfully requests that the payment schedule of $800 per month be

modified to reflect this payment, resulting in a monthly payment due of $334.

       Defendant further notes that the recommended order states that Mr. Pappas has

not provided his 2017 bank records to Plaintiff as required by the Court’s January 19,

2016, Order. See DE #312 at 11. These bank records were provided to Plaintiff on

September 29, 2017. A copy of these records are filed separately under seal as Exhibit 2.


                                              Respectfully submitted,

                                              THE DEFENDANT,
                                              Charles Pappas

                                              OFFICE OF THE FEDERAL DEFENDER

Dated: October 12, 2017                       /s/ James P. Maguire
                                              James P. Maguire
                                              Assistant Federal Defender
                                              265 Church Street, Suite 702
                                              New Haven, CT 06510
                                              Phone: (203) 498-4200
                                              Bar No.: ct29355
                                              Email: James_Maguire@fd.org




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                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 12, 2017, a copy of the foregoing was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                /s/ James P. Maguire
                                                James P. Maguire




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                     EXHIBIT
                             1
    ....
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                                                                                               Customer Copy
           797 • Danielson                              OFFICIAL CHECK
           Danielson, Connecticut

                                                                                          Date 10/05/2017
                                             Remitter MR DAVID SCOTI HEAP



                                                                                               $       28,000.00           ***
            Pay To The       CT FAIR HOUSING TRUSTEE FOR DONNA PARIS
            Oraer Of
                                                                      Drawer:   KeyBank




                                                          TERMS
                            KEEP THIS COPY FOR YOUR RECORD OF THE TRANSACTION. TO REPORT A LOSS OR FOR ANY OTHER INFORMATION
                            ABOUT THE INSTRUMENT, CONTACT THE INSTITUTION FROM WHICH YOU RECEIVED THE INSTRUMENT.

I                                                                                                           FORM NO. 80-0811 -T21 (4/C
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                     EXHIBIT
                             2
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EXHIBIT FILED UNDER SEAL
